Case 2:09-cr-00015-EFS   ECF No. 2144   filed 07/20/10   PageID.11461 Page 1 of 6
Case 2:09-cr-00015-EFS   ECF No. 2144   filed 07/20/10   PageID.11462 Page 2 of 6
Case 2:09-cr-00015-EFS   ECF No. 2144   filed 07/20/10   PageID.11463 Page 3 of 6
Case 2:09-cr-00015-EFS   ECF No. 2144   filed 07/20/10   PageID.11464 Page 4 of 6
Case 2:09-cr-00015-EFS   ECF No. 2144   filed 07/20/10   PageID.11465 Page 5 of 6
Case 2:09-cr-00015-EFS   ECF No. 2144   filed 07/20/10   PageID.11466 Page 6 of 6
